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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

 In Re:                                                 Case No. 23-18016-RAM

 FERNANDO ELISEO GOMEZ and MAITE                        Chapter 13
 ESTHER CESPEDES AKA MAGALY
 GONZALEZ,

                  Debtor.
                                                  /


                 REQUEST FOR SPECIAL NOTICE AND SERVICE OF COPIES


TO:       UNITED STATES BANKRUPTCY JUDGE, THE DEBTOR(S), AND ALL INTERESTED
          PARTIES

          PLEASE TAKE NOTICE that ALDRIDGE PITE, LLP submits this Request for Special Notice

and Service of Copies, for Wells Fargo Bank, N.A. and hereby requests special notice of all events

relevant to the above-referenced bankruptcy and copies of all pleadings or documents filed in relation to

the above-referenced bankruptcy, including all pleadings or notices under Federal Rules of Bankruptcy

Procedure, Rule 2002, the commencement of any adversary proceedings, the filing of any requests for

hearing, objections, and/or notices of motion, or any other auxiliary filings, as well as notice of all

matters which must be noticed to creditors, creditors committees and parties-in-interest and other notices

as required by the United States Bankruptcy Code and Rules and/or Local Rules of the above-referenced
bankruptcy court.

          ALDRIDGE PITE, LLP, requests that for all notice purposes and for inclusion in the Master

Mailing List in this case, the following address be used:

                                            Jennifer Laufgas
                                        ALDRIDGE PITE, LLP
                                           Aldridge Pite, LLP
                                          Six Piedmont Center
                                  3525 Piedmont Road, N.E., Suite 700
                                           Atlanta, GA 30305
          Neither this Request for Special Notice nor any subsequent appearance, pleading, claim, proof of

claim, documents, suit, motion nor any other writing or conduct, shall constitute a waiver of the within



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party's:

           a.   Right to have any and all final orders in any and all non-core matters entered only after de

novo review by a United States District Court Judge;

           b.   Right to receive service pursuant to Fed. R. Civ. P. 4 made applicable to the instant

proceeding by Fed. R. Bankr. P. 7004. This Request for Special Notice shall not operate as a confession

and/or concession of jurisdiction. Moreover, the within party does not authorize Aldridge Pite, LLP,

either expressly or impliedly through Aldridge Pite, LLP’s participation in the instant proceeding, to act

as its agent for purposes of service under Fed. R. Bankr. P. 7004;

           c.   Right to trial by jury in any proceeding as to any and all matters so triable herein, whether

or not the same be designated legal or private rights, or in any case, controversy or proceeding related

hereto, notwithstanding the designation or not of such matters as "core proceedings" pursuant to 28

U.S.C. § 157(b)(2)(H), and whether such jury trial right is pursuant to statute or the United States

Constitution;

           d.   Right to have the reference of this matter withdrawn by the United States District Court in

any matter or proceeding subject to mandatory or discretionary withdrawal; and

           e.   Other rights, claims, actions, defenses, setoffs, recoupments or other matters to which this

party is entitled under any agreements at law or in equity or under the United States Constitution.

Dated: October 4, 2023                                  ALDRIDGE PITE, LLP


                                                        /s/ Jennifer Laufgas
                                                        Jennifer Laufgas (SBN 56181)
                                                        jlaufgas@aldridgepite.com
                                                        Aldridge Pite, LLP
                                                        Six Piedmont Center
                                                        3525 Piedmont Road, N.E., Suite 700
                                                        Atlanta, GA 30305
                                                        Phone: (404) 994-7400
                                                        Fax: (619) 590-1385




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